        Case 1:17-cv-00094-SPW Document 11-1 Filed 12/14/17 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 THOMAS CURTIS and JANICE                              Cause No: CV-17-94-BLG-SPW
 CURTIS,

                 Plaintiffs,
                                                       ORDER DISMISSING WITH
 vs.                                                        PREJUDICE

 SAFECO INSURANCE COMPANY
 OF ILLINOIS, SAFECO GENERAL
 AGENCY, INC., SAFECO
 INSURANCE, and JOHN DOES 1-10

                 Defendants.

       Upon the Stipulation for Dismissal with Prejudice, and for good cause shown, IT IS

HEREBY ORDERED that the above-entitled action is DISMISSED WITH PREJUDICE, each

of the parties bearing their own attorneys’ fees and costs.

       Dated this ___ day of December, 2017.




                                      SUSAN P. WATTERS
                                      United States District Judge
